         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                 _____________________________

                      Case No. 5D2024-1103
                 L.T. Case No. 2006-CF-005748-A
                  _____________________________

MICHAEL A. VINES,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
                 _____________________________


3.800 Appeal from the Circuit Court for Duval County.
Kevin Anthony Blazs, Judge.

Michael A. Vines, Madison, pro se.

Ashley Moody, Attorney General, and Miranda L. Butson,
Assistant Attorney General, Tallahassee, for Appellee.

                        August 27, 2024

PER CURIAM.

    AFFIRMED. See Fla. R. App. P. 9.315(a).


EDWARDS, C.J., and LAMBERT and JAY, JJ., concur.
          _____________________________

Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
           _____________________________




                       2
